79 F.3d 1141
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Morris R. JORDAN, Petitioner,v.STERLING MINING COMPANY;  Director, Office of Workers'Compensation Programs, United States Department ofLabor;  Old Republic Insurance Company,Respondents.
    No. 95-2323.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 27, 1996.Decided March 19, 1996.
    
      Morris R. Jordan, Petitioner Pro Se.
      Mark Elliott Solomons, Laura Metcoff Klaus, ARTER &amp; HADDEN, Washington, D.C.;   Patricia May Nece, Jill M. Otte, UNITED STATES DEPARTMENT OF LABOR, Washington, D.C., for Respondents.
      Before MURNAGHAN and WILKINS, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      Affirmed by unpublished per curiam opinion.
      PER CURIAM:
    
    
      1
      Appellant seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. §§ 901-945 (West 1986 &amp; Supp.1995).   Our review of the record discloses that the Board's decision is based upon substantial evidence and is without reversible error.   Accordingly, we affirm on the reasoning of the Board.   Jordan v. Sterling Mining Co., No. 94-2250-BLA (B.R.B. June 22, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    